                       Case 1:19-cv-03545-TSC     Document 1   Filed 11/25/19   Page 1 of 8



                      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


                      LOUISE A. WELLING
                      38 Osprey Village Drive
                      Amelia Island, Florida 32034

                                                Plaintiff

                                 v.                                 CASE NO.

                      ADAMS MORGAN HOTEL OWNERS, LLC                 JURY PRAYED
                      t/a THE LINE DC
                      Serve: National Registered
                              Agents, Inc.
                              1015 15 th Street, N.W.
                              Suite 1000
                              Washington, D.C.    20005

                                 and

                      SYDELL GROUP, LLC
                      Serve: National Registered
                                Agents, Inc.
                      1015 15 th Street, N.W.
                      Suite 1000
                      Washington, D.C.    20005

                                                Defendant

                                                        COMPLAINT

                           Louise A. Welling, Plaintiff, through counsel sues

                      Defendants Adams Morgan Hotel Owners, LLC, and Sydell Group,

                      LLC, alleging as cause:

                                                      JURISDICTION

                           Jurisdiction is proper in this Court under 28 U.S.C. 1332

   LAW OFFICES        in that Plainti~f is a citizen of the State of Florida.                 The
  ELLIS J. KOCH

,904 HUBBARD DRIVE

!OCKVILLE, MD 20852
                      Defendant Adams Morgan Hotel Owners, LLC, is a Delaware Limited
  (301) 231-9480

FAX (301) 881-9465
                      Liability Company and is an entity doing business through hotel
 KOCHLAW@MSN.COM
Case 1:19-cv-03545-TSC   Document 1   Filed 11/25/19   Page 2 of 8



ownership in the District of Columbia under the registered trade

name The Line DC (File No. TN0005461702).          The Sydell Group,

LLC, is an entity doing business in the District of Columbia and

is a District of Columbia registered entity under Registration

Number L00005484819.     The amount in controversy exceeds

$75,000.00.

                                 PARTIES

     1.    Louise A. Welling (Ms. Welling) is an individual

residing at 38 Osprey Village Drive, Amelia Island, Florida

32034, who was a business invitee of Defendants.

     2.    Adams Morgan Hotel Owners, LLC,        ("Adams Morgan") is

the owner of the property in the District of Columbia known as

The Line DC located at 1770 Euclid Street, N.W., Washington,

D.C. 20009.

     3.    Sydell Group, LLC ("Sydell") is the manager of the

hotel known as The Line DC engaged by Adams Morgan for that

purpose.

                           STATEMENT OF FACT

     4.    On August 11, 2018, Ms. Welling attended a wedding

reception at The Line DC, a part of which was a cocktail

reception on the roof terrace at The Line DC.           Because of

inclement weather, it was relocated to the ground floor.             There

is one bank of elevators for guests that is in the newer portion

of the hotel.    Ms. Welling took the elevators to the ground
Case 1:19-cv-03545-TSC   Document 1   Filed 11/25/19   Page 3 of 8



floor to proceed to the relocated cocktail reception.                 She was

proceeding to the cocktail reception area which was through the

main decorated reception area.        With her was her husband, Bert

Welling, and a relation in a wheelchair.          A hotel staff member

permitted the wheelchair-bound relation to proceed directly to

the relocated cocktail area.      Ms. Welling and her husband were

told they could not proceed through the main reception area but

were instructed to take the elevator back up to the main level,

go around to the front of the hotel, and proceed down the

stairway to get to the relocated cocktail reception.                 The

Wellings having no other choice complied with the instructions.

The stairway is a two-level stairway.          The first level ends on

an intermediate landing.      You thrn proceed from that

intermediate landing turning to        he left to a second level of

stairs to descend to the ground        loor.    It is on the steps at or

near the bottom of that second 1 vel of stairs where the fall

occurred.

     5.     The second level of stirs where the fall occurred

does not have handrails on eithe        side that extend to the bottom

of the stairs.    The handrails en      three steps from the bottom,

such that when Ms. Welling desce ded the stairs, holding onto

the handrail as long as she coul , she was unable to hold onto

any safety support near the bott m of the stairs to protect

herself and prevent a fall.
Case 1:19-cv-03545-TSC   Document 1        Filed 11/25/19   Page 4 of 8


                                      I
     6.    Sydell was engaged td make all the arrangements for

the wedding event recited above.            As such, Ms. Welling was also

a business invitee of Sydell.             Sydell as an experienced hotel

manager knows or should have known about safety conditions on

stairways concerning handrails.             Sydell owed a duty of care to

Ms. Welling, including but not limited to a duty to warn.

     7.    The failure to provide a protective handrail for the

full length of the stairs to ensure the safety of any person

descending the stairs provided a hazardous condition that was

known or should have been known to Defendants.

     8.    The failure to provide a protective handrail for the

full length of the stairs to ensure the safety of any person

descending the stairs was in violation of known standards of

safety for a stairway of that nature.

     9.    The failu~e to provide a protective handrail for the

full length of the stairs to ensure the safety of any person

descending the staiis was a negligent act by Defendants.

     10.   By failing to provide a full-length protective

handrail, Defendants breached their duty of care to Ms. Welling,

including but not limited to a general duty of care, a duty to

give notice and the !duty to provide a safe environment.

     11.   Defendants' breach of its duty of care was the

proximate cause of the injuries suffered by Ms. Welling.
Case 1:19-cv-03545-TSC       Document 1   Filed 11/25/19   Page 5 of 8



      12.   At all times, Ms. Welling exercised due care for her

own safety, assumed no risk and was not contributorily negligent

in any way.

      13.   The failure to provide handrails to the bottom of the

stairway was in willful, wanton and reckless disregard for the

health and safety of Ms. Welling.

      14.   As aldirect consequence of the failure to provide the

necessary hand ail, Ms. Welling fell and suffered a broken hip
               .   I
and femur which required surgery and a hip replacement and

extensive bruising of her body.           Additionally, she has

experienced and cottinue[ to experience balance issues, as well

as pas t , presen t anId ongoing
                            I ,    ,
                                 pain.

      15.   In additlon to the physical injuries set forth above,

Ms. Welling has su~feredl. emotional trauma manifested as

avoidance of compu~er co tact with friends and relatives, low

spirits as a conse~uence of her inability to enjoy life as she

had previously don~ and ~nxiety issues as a consequence of her

concern a b ou t h er, flut ureiI a b'l't       '
                                     i i y to enJoy l'f
                                                     i e.
                       1
      16.   Ms. Welling har suffered further injury because of

loss of life styly pleaspres consisting of loss of enjoyment of

life, inability t6 traveR,          inability to visit family at their
                                !



homes in other cit'es, h~king, swimming, lack of mobility and
                                !

inability to walk          ithou~ additional support all which are no
                                !

                                i
longer enjoyed as           consrquence of the fall.
Case 1:19-cv-03545-TSC   Document 1               Filed 11/25/19   Page 6 of 8



                                 COUNT I
                             (ADAMS !MORGAN)
                                 !            !
                                 I            :
     1 7.   Plaintiff incorporatlesi Paragraphs 1 through 13 and 14
                                 I            ;




through 16 as if substantiall~ r~stated.

     18.    Adams Morgan breached ~ts duty of care to Ms. Welling
                                              :
                                              I
causing the injuries recited abope.                    Such duty of care includes

but is not limited t o t e genera~ duty of care, the duty to give
                                              I
notice and the duty to     rovide a! safe envlronment.

     WHEREFORE, Plainti f claimsi of Defenkant Adams Morgan in
                                          i
the sum of $1 million in consequ~ntial damages plus costs and
                                              I
                                              I


attorney's fees.

                                COUiiJT II
                             (ADAMS /MORGAN)

     19.    Plaintiff incorporates Paragraphs 1 through 8 and 12

through 16 as if substantially r~stated.
                                I



     20.    Adams Morgan acted in ~anton, willful and reckless

disregard for the health and saf~ty of Ms. Welling by failing to
                                      I   I




provide handrails for safety tof ~he bottom of the stairway in
                                      i   i

                                      i '
disregard of safety standards.        ! i
                                      ; '
     WHEREFORE, Plaintiff claim~; of Defendant Adams Morgan in
                                      'I ''

                                      '   '
the sum of $500,000.00 in punitfve damages plus costs and
                                      I:
attorney's fees.                      i
                                      !
                                      i:
                                      ! :
Case 1:19-cv-03545-TSC         Document 1        Filed 11/25/19   Page 7 of 8



                                           COUNT III
                                            (SYDELL)

        21.    Plaintiff incorporates Paragraphs 1 through 12 and 14

through 16 as if substantially restated.

        22.    Sydell had management and oversite responsibility for

the operation of The Line DC and management and oversite

responsibility for the wedding event set forth above.

        23.    Sydell had full             nowledge that there were no handrails

extending to the bottom of the stairway and failed to provide

any warning of the dan~er olr take protective measures to protect

the safety of Ms. Welling.
                               I

        24.    Sydell breached i'ts duty of care owed to Ms. Welling,

including but not limiJed ~o a general duty of care, the duty to
                               I



give notice and the dutjy tb provide a safe environment.

        25 .          .
               As a d irec t   9i n d proximate
                                      I   .     consequence o f t h e neg l.igent
                               I       I
failure of Sydell to a~t to protect Ms. Welling, she suffered
                               I       I
the injuries and consequences recited above.

        WHEREFORE,    Plaint~ff; ~laims of Defendant Sydell in the sum

of $1 million in consequen ial damages plus costs and attorney's

fees.

                                            COUNT IV
                                            (SYDELL)
                                   :   I
        26.    Plaintiff in1or orates Paragraphs 1 through 8 and 12

th roug h 16 as i. f substant
                           : . I. lly restated.
Case 1:19-cv-03545-TSC      Document 1               Filed 11/25/19                    Page 8 of 8



        27.   Sydell had management and oversite responsibility for

the operation of The Line DC and management and oversite

responsibility for the wedding event set forth above.

        28.   Sydell had full knowledge that there were no handrails

extending to the bottom of the stairway and failed to provide

any warning of the danger or take protective measures to protect

the safety of Ms. Welling.
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        29.   Sydell having full ~nowledge of the danger and taking
                      '             '
no action to p~ote~t Ms. Well}ng acted in a willful, wanton and
                  I                 ,
                  I                 '

reckless disregard for the hejlth rnd safety of Ms. Welling.
                                    !

        WHEREFORE, Plaintiff clatms pf Defendant Sydell in the sum

of $500,000.00 in punitive daiages plus costs and attorney's

fees.




                                        ELLIS J            UIRE
                                        r.tj. No. MD05356
                                        59q4 Hubbard Drive
                                        Roa kville, MD 20852
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                                 JUlRY JEMAND
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        Plaintiff prays t      l by ju,y on all claims.



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